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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES—
                                       GENERAL


 Case No.       5:25-cv-00965-SSS-KES                               Date April 30, 2025
 Title Yostin Sleiker Gutierrez-Contreras v. Warden, et al.



 Present: The Honorable          SUNSHINE S. SYKES, UNITED STATES DISTRICT JUDGE


                 Irene Vazquez                                       Not Reported
                  Deputy Clerk                                       Court Reporter

    Attorney(s) Present for Plaintiff(s):                Attorney(s) Present for Defendant(s):
                  None Present                                       None Present


 Proceedings: (IN CHAMBERS) ORDER GRANTING EX PARTE
              APPLICATION FOR APPOINTMENT OF COUNSEL
              [DKT. 13]

      On April 29, 2025, Petitioner Yostin Sleiker Gutierrez-Contreras filed an Ex
Parte Application for Appointment of Counsel (“Application”). [Dkt. 13]. The
Application is unopposed. The Court finds that Petitioner will be irreparably
prejudiced if he is not appointed counsel in his case due to his limited ability to
speak fluent English, limited access to resources in confinement, and the
complicated factual and legal issues Mr. Gutierrez-Contreras cannot effectively
present to the Court without assistance of counsel. Accordingly, the Application is
GRANTED.1 [Dkt. 13].

       IT IS SO ORDERED.




       1
         The Court reminds Petitioner of the importance of articulating the ex parte standard in
any future application at the risk of denial. See C.D. Cal. R. 7-19.
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